                                Appendix B
                 Disputes Related to Proposed ESI Protocol
  I.Privilege Log Requirements

         Plaintiffs’ Proposal                          Defendants’ Proposal
 A privilege log must include an entry for    14(c)         Emails containing privileged
 each email and each attachment within a      information may be included in a privilege log
 thread for which the producing Party is      as the most inclusive version of the email
 claiming privilege, to allow the receiving   thread that is available. If the receiving Party
 Party to adequately assess the claim of      believes that all portions of an email thread
 privilege for each email and attachment in   should be logged individuals, the receiving
 the document family.                         Party shall make such a request in writing
                                              noting the privilege log ID number of the
                                              thread and the reasons why the receiving Party
                                              believes that the emails should be individually
                                              listed in the privilege log. The producing Party
                                              retains the right to object to such requests on
                                              the grounds of undue burden and
                                              disproportionality. The Parties agree to meet
                                              and confer in good faith regarding any such
                                              objections.


 No such provision – parties must log 14(f) A Party shall only be required to include
 attachments separately from emails.  one entry on the privilege log to identify each
                                      family of documents that are withheld in their
                                      entirety for privilege (parent and child[ren])
                                      taken together (“Family”); provided, however,
                                      that the privilege log entry for any Family shall
                                      identify that the documents are part of a family
                                      (e.g., “Email and attachments…”) and provide
                                      the names of the attachments in a separate
                                      field. If the receiving Party believes that an
                                      email and its attachment(s) should be logged
                                      separately, the receiving Party shall make such
                                      a request in writing noting the privilege log ID
                                      number of the thread and the reasons why the
                                      receiving Party believes that constituent parts
                                      of the email Family should be individually
                                      listed in the privilege log. The producing Party
                                      retains the right to object to such requests on
                                      the grounds of undue burden and
                                      disproportionality. The Parties agree to meet
                                      and confer in good faith regarding any such


                                              1

Case 3:23-md-03071      Document 776-5        Filed 02/09/24     Page 1 of 6 PageID #: 14181
          Plaintiffs’ Proposal                            Defendants’ Proposal
                                                  objections.



    PLAINTIFFS’ POSITION:

        Defendants’ proposals for privilege logging are simply inadequate to provide Plaintiffs

 with enough information under Fed. R. Civ. P. 26(b)(5) to “assess the claim” of privilege.

        Under Defendants’ first proposal, if Defendants withhold an email chain consisting of 20

 emails under a claim of privilege, they would only have to log the top email in the chain. If an

 email lower down in the chain was, for example, sent to a third party, or included a large number

 of non-attorneys, Plaintiffs would have no way to know that information—information required to

 properly assess a claim of privilege. In re Bystolic Antitrust Litig., No. 20-CV-5735 (LJL), 2021

 WL 878568, at *4 (S.D.N.Y. Mar. 9, 2021) (“Requiring privilege logs to include only one entry

 for each email thread containing withheld emails would limit the ability of the parties and the Court

 to effectively evaluate the basis of the privilege asserted.”). Nor would Plaintiffs have any way of

 ascertaining how many individual emails are being withheld. Defendants argue that Plaintiffs can

 simply ask for log entries for the rest of the email chain, but without knowing what other emails

 may be further down the chain, that option is illusory; Plaintiffs will be blindly requesting

 additional log entries, potentially creating satellite litigation over “undue burden and

 proportionality”. For this reason, “[t]he emerging majority view appears to be that individual

 emails within a string should be separately logged in some fashion.” United States v. Davita, Inc.,

 301 F.R.D. 676, 685 (N.D. Ga. 2014) (collecting cases); Breathablebaby, LLC v. Crown Crafts,

 Inc., No. 12-cv-94, 2013 WL 33550594, at *10 (D. Minn. 2013) (“[R]equiring individual entries

 for each e-mail in a chain helps to ensure that parties do not bury non-privileged communications

 in e-mail chains that were forwarded to counsel for legal advice.”).

                                                  2

Case 3:23-md-03071         Document 776-5         Filed 02/09/24      Page 2 of 6 PageID #: 14182
        Similarly, if a producing Party withholds an email with several attachments, the privilege

 log will include only an entry for the cover email, and no metadata or any of the other information

 required for attachments under Fed. R. Civ. P. 26(b)(5) (beyond the name of the document) to

 assess the propriety of the privilege claim. If a document was created by a third party (like a co-

 Defendant), and then claimed as privileged because it was forwarded to an attorney, that

 information would be crucial to assessing and challenging a claim of privilege, but under

 Defendants’ proposal it would be hidden from Plaintiffs. This is why “federal courts generally

 ‘expect that attachments, like earlier strings in e-mail correspondence, need to be treated separately

 and logged as such[.]’” In re Application of Chevron Corp., No. 10-371, 2013 WL 11241413, at

 *5 (D.D.C. Apr. 22, 2013) (quoting Abu Dhabi Commercial Bank v. Morgan Stanley & Co., Inc.,

 No. 08-7508, 2011 WL 3738979, *4 (S.D.N.Y. Aug. 18, 2011) (citations omitted)).

        Defendants’ main argument for excluding this information appears to be burden. But this

 makes no sense; Defendants’ proposal assumes the claim of privilege is identical for every email

 in a thread or for every member of a family, and so there is minimal additional burden to adding

 metadata log entries and copying the explanation of privilege to each additional line of a log, to

 the extent each member of the document family is privileged. Any burden claimed by Defendants

 is clearly outweighed by the relevance of the additional log entries to Plaintiffs’ ability to assess a

 claim of privilege and, if necessary, challenge it.

    DEFENDANTS’ POSITION:

        A Party shall only be required to include one entry on the privilege log to identify each

 family of documents that are withheld in their entirety for privilege (parent and child[ren]) taken

 together (“Family”); provided, however, that the privilege log entry for any Family shall identify

 that the documents are part of a family (e.g., “Email and attachments…”) and provide the names

 of the attachments in a separate field. If the receiving Party believes that an email and its
                                                   3

Case 3:23-md-03071         Document 776-5          Filed 02/09/24      Page 3 of 6 PageID #: 14183
 attachment(s) should be logged separately, the receiving Party shall make such a request in writing

 noting the privilege log ID number of the thread and the reasons why the receiving Party believes

 that constituent parts of the email Family should be individually listed in the privilege log. The

 producing Party retains the right to object to such requests on the grounds of undue burden and

 disproportionality. The Parties agree to meet and confer in good faith regarding any such

 objections.

         Plaintiffs’ proposal shares many of the flaws of their approach to email threads. Logging

 emails and attachments separately will dramatically increase the size of each Defendant’s privilege

 log and the time spent ensuring that privilege log entries are correct. As with the prior disputed

 provision, Plaintiffs have not articulated a practical basis for Defendants to log every attachment

 individually from and email. There will be no loss of information for Plaintiffs. If an attachment

 is responsive to their requests and not privileged, it will be produced. If Plaintiffs have more

 questions about an email attachment on a privilege log, they can ask for the entry to be relogged

 separately. This Court should follow the lead of other courts in taking a two-step approach to

 privilege logs that is both efficient and practical. See, e.g., In re Delta Dental Antitrust Litig., No.

 1:19-cv-06734, ECF No. 348, §G.2 (N.D. Ill. 2020); In re Diisocyanates Antitrust Litig., No. 2:18-

 mc-01001, ECF No. 313, §10(a) (W.D. Pa. 2020).

  II.Authenticity: Paragraph 15(c)

           Plaintiffs’ Proposal                 Defendants’ Proposal
   Presumption of Authenticity. All [This section should be omitted from
   Documents produced in this Action by the ESI Protocol.]
   either Party or by non-parties from the
   nonparties’ files shall be presumed to be
   authentic within the meaning of Federal
   Rules of Evidence 901. If a Party serves a
   specific good faith written objection to the
   authenticity of a particular document,
   including the reasons for such a challenge,


                                                    4

Case 3:23-md-03071          Document 776-5         Filed 02/09/24       Page 4 of 6 PageID #: 14184
           Plaintiffs’ Proposal                             Defendants’ Proposal
   the presumption of authenticity will no
   longer apply to that document. Any
   objection to a document’s authenticity must
   be provided with (or prior to) the exchange
   of objections to trial exhibits. The Parties
   will promptly meet and confer to attempt to
   resolve any such objection.



     PLAINTIFFS’ POSITION:

         The Parties agree that it benefits all to stipulate to authenticity to avoid taking extensive

 and unnecessary discovery for the purpose of authenticating documents as business records that

 were produced by the Parties in this litigation. The Parties differ in the appropriate timing for such

 a stipulation. Plaintiffs submit that, by including this language at the outset of the case, the Parties

 can streamline, for example, service of requests for admission and reduce the need for deposition

 testimony for authentication purposes. Plaintiffs’ approach also reserves the right of any producing

 party to object to authenticity up until trial exhibit lists are exchanged, so there is no prejudice to

 either side.

     DEFENDANTS’ POSITION:

         Now is not the time to be addressing the authenticity of documents. Document productions

 are months away. Defendants do not know what documents they will be producing—the parties

 have not negotiated the scope of discovery, who document custodians will be, or search

 methodologies that they will use. Moreover, summary judgment and trial—where evidentiary

 foundation will matter—will not occur for years. There is no reason to address authenticity before

 a single document is produced.

         The issue of authenticity foundation is better addressed at the close of discovery when the

 parties will know what documents matter. That is exactly the approach that other courts have


                                                    5

Case 3:23-md-03071          Document 776-5         Filed 02/09/24       Page 5 of 6 PageID #: 14185
 taken in antitrust litigation. See, e.g., In re Pork Antitrust Litig., No. 18-cv-01776, Dkt. 1651 (D.

 Minn. 2022) (ordering parties to address objections to authenticity and admissibility after motions

 for summary judgment are filed); In re Broiler Chicken Antitrust Litig., No. 1:16-cv-08637, Dkt.

 5422 (N.D. Ill. 2022) (stipulations concerning authenticity negotiated during expert discovery); In

 re High-Tech Employee Antitrust Litig., 5:11-cv-02509, Dkt. 371 (N.D. Cal. 2013) (stipulation

 entered into after production of documents); In re TFT-LCD (Flat Panel) Antitrust Litig., 3:07-

 md-01827, Dkt. 2910 (N.D. Cal. 2011) (stipulation concerning authenticity and admissibility

 protocols entered after close of discovery). This Court should follow the same approach.




                                                  6

Case 3:23-md-03071         Document 776-5         Filed 02/09/24      Page 6 of 6 PageID #: 14186
